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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,

                 Plaintiff,
                                                    Case No. 1:19-cv-1552 (ABJ)
   v.

U.S. DEPARTMENT OF JUSTICE,

                 Defendant.


  DEFENDANT’S UNOPPOSED MOTION FOR ONE WEEK EXTENSION OF TIME

        Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), defendant the U.S. Department of

Justice (Department) hereby moves for a one-week extension of time, until May 24, 2021, of the

period in which to move for a stay of the Court’s May 3, 2021 Order, ECF No. 26, in this case,

and to inform the Court as to the Department’s position on whether the Court’s sealed order may

be unsealed. The request is made in good faith and with good cause, as set forth below:

        1.      On May 3, 2021, the Court rejected the Department’s arguments for withholding a

memorandum, referred to as Document No. 15, and granted the plaintiff’s motion for summary

judgment with respect to that document. See ECF No. 27. It further ordered that any motion to stay

the court’s order must be filed by May 17, 2021, and that on that same day, the Department must

inform the Court as to the Department’s position on whether the Court’s sealed order may be

unsealed. See ECF No. 26.

        2.      The United States is normally entitled to sixty days in which to determine whether

or not to appeal a final order, a time period that recognizes the deliberation and coordination

required for the government to make such determinations. See 28 U.S.C. § 2107(b); Fed. R. App.

P. 4(a)(1)(B). A motion for stay pending appeal, like a decision whether or not to appeal a final


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order, requires the approval of the Solicitor General. 28 C.F.R. § 0.20(b). The Court’s order

provided only two weeks for the Department to create and process the ordinary paperwork

attendant to an appeal recommendation and decision.

       3.      The Department recognizes that the Court’s timeframe reflects an interest in a swift

decision, and the Department is not seeking to extend its time to the full sixty days to which it

would otherwise be entitled. It does request, however, one additional week in which to allow its

ordinary processes to be completed.

       4.      No material prejudice will result from this request for a short extension of time.

Pursuant to Local Civil Rule 7(m), the Department has conferred with the plaintiff regarding this

request, and plaintiff does not oppose the relief requested in this motion.


Dated: May 14, 2021                                   Respectfully submitted,

                                                      BRIAN D. NETTER
                                                      Deputy Assistant Attorney General


                                                      /s/ Elizabeth J. Shapiro
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